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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re                                                            Chapter 11

    MELINTA THERAPEUTICS, INC., et al.,                              Case No. 19-12748 (LSS)

                    Debtors.1                                        Jointly Administered


             NOTICE OF AMENDED2 AGENDA OF MATTERS SCHEDULED FOR
              HEARING ON JANUARY 28, 2020 AT 1:30 P.M. (EASTERN TIME)
               BEFORE THE HONORABLE LAURIE SELBER SILVERSTEIN3

                  Please note that the hearing location has changed; the hearing will
                  be held in the United States Bankruptcy Court for the District of
                  Delaware, 824 North Market Street, 6th Floor, Courtroom #2
                  Wilmington, Delaware 19801.

Certifications of No Objection/Certifications of Counsel

1.          Motion of Debtors for Entry of Interim and Final Orders Authorizing Debtors to Pay
            Certain Prepetition Taxes and Related Obligations (Filed December 27, 2019) [Docket
            No. 9]

            Related Documents:

            (a)     Interim Order Authorizing Debtors to Pay Certain Prepetition Taxes and Related
                    Obligations (Entered December 30, 2019) [Docket No. 51]

            (b)    Notice of Entry of Interim Order and Final Hearing with Respect to the Motion of
                   Debtors for Entry of Interim and Final Orders Authorizing Debtors to Pay Certain


1
      The Debtors and the last four digits of their respective taxpayer identification numbers are: Melinta
      Therapeutics, Inc. (0364); Cempra Pharmaceuticals, Inc. (5814); CEM-102 Pharmaceuticals, Inc. (4262);
      Melinta Subsidiary Corp. (9437); Rempex Pharmaceuticals, Inc. (6000); and Targanta Therapeutics Corporation
      (1077). The address of the Debtors’ corporate headquarters is 44 Whippany Road, Suite 280, Morristown, New
      Jersey 07960.

2
      Amendments appear in bold print.
3
      The hearing will be held before The Honorable Laurie Selber Silverstein at the United States Bankruptcy Court
      for the District of Delaware, 824 North Market Street, 6th Floor, Courtroom #2, Wilmington, Delaware
      19801. Any person who wishes to appear telephonically at the hearing must contact COURTCALL, LLC at
      866-582-6878 to register his/her telephonic appearance in accordance with the Instructions for Telephonic
      Appearances Effective January 5, 2005, Revised May 11, 2018.
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               Prepetition Taxes and Related Obligations (Filed December 30, 2019) [Docket
               No. 60]

     (c)       Certification of Counsel Regarding Motion of Debtors for Entry of Interim and
               Final Orders Authorizing Debtors to Pay Certain Prepetition Taxes and Related
               Obligations (Filed January 23, 2020) [Docket No. 154]

     Objection Deadline: January 17, 2020 at 4:00 p.m. (ET), extended for the Official
                         Committee of Unsecured Creditors (the “Committee”), Vatera
                         Healthcare Partners LLC (“Vatera”), and the Office of the United
                         States Trustee for the District of Delaware (the “U.S. Trustee”)
                         until January 21, 2020 at 4:00 p.m. (ET).

     Responses Received:

     (a)       Informal response of the Committee

     Status:          A certification of counsel was filed with the Court. This matter will not be
                      going forward unless otherwise directed by the Court.

2.   Motion of Debtors for Entry of Interim and Final Orders (I) Approving Debtors’
     Proposed Form of Adequate Assurance of Payment; (II) Establishing Procedures for
     Resolving Objections by Utility Companies; and (III) Prohibiting Utility Companies
     From Altering, Refusing, or Discontinuing Service (Filed December 27, 2019) [Docket
     No. 10]

     Related Documents:

     (a)       Interim Order (I) Approving Debtors’ Proposed Form of Adequate Assurance of
               Payment; (II) Establishing Procedures for Resolving Objections by Utility
               Companies; and (III) Prohibiting Utility Companies from Altering, Refusing, or
               Discontinuing Service (Entered January 2, 2020) [Docket No. 71]

     (b)       Notice of Entry of Interim Order and Final Hearing with Respect to Motion of
               Debtors for Entry of Interim and Final Orders (I) Approving Debtors’ Proposed
               Form of Adequate Assurance of Payment; (II) Establishing Procedures for
               Resolving Objections by Utility Companies; and (III) Prohibiting Utility
               Companies from Altering, Refusing, or Discontinuing Service (Filed January 2,
               2020) [Docket No. 74]

     (c)       Certification of Counsel Regarding Motion of Debtors for Entry of Interim and
               Final Orders (I) Approving Debtors’ Proposed Form of Adequate Assurance of
               Payment; (II) Establishing Procedures for Resolving Objections by Utility
               Companies; and (III) Prohibiting Utility Companies From Altering, Refusing, or
               Discontinuing Service (Filed January 23, 2020) [Docket No. 155]



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     Objection Deadline: January 17, 2020 at 4:00 p.m. (ET), extended for the Committee,
                         Vatera, and the U.S. Trustee until January 21, 2020 at 4:00 p.m.
                         (ET).

     Responses Received:

     (a)       Informal response of the Committee

     Status:          A certification of counsel was filed with the Court. This matter will not be
                      going forward unless otherwise directed by the Court.

3.   Motion of Debtors for Entry of Interim and Final Orders Authorizing Payment of
     Prepetition Claims of Certain Critical Vendors (Filed December 27, 2019) [Docket No.
     12]

     Related Documents:

     (a)       Interim Order Authorizing Payment of Prepetition Claims of Certain Critical
               Vendors (Entered December 30, 2019) [Docket No. 53]

     (b)       Notice of Entry of Interim Order and Final Hearing with Respect to the Motion of
               Debtors for Entry of Interim and Final Orders Authorizing Payment of Prepetition
               Claims of Certain Critical Vendors (Filed December 30, 2019) [Docket No. 62]

     (c)       Certification of Counsel Regarding Motion of Debtors for Entry of Interim and
               Final Orders Authorizing Payment of Prepetition Claims of Certain Critical
               Vendors (Filed January 23, 2020) [Docket No. 156]

     Objection Deadline: January 17, 2020 at 4:00 p.m. (ET), extended for the Committee,
                         Vatera, and the U.S. Trustee until January 21, 2020 at 4:00 p.m.
                         (ET).

     Responses Received:

     (a)       Informal response of the U.S. Trustee

     (b)       Informal response of the Committee

     Status:          A certification of counsel was filed with the Court. This matter will not be
                      going forward unless otherwise directed by the Court.

4.   Motion of Debtors for Entry of Interim and Final Orders Authorizing Debtors to Honor
     Certain Prepetition Obligations to Customers and to Continue Customer Programs (Filed
     December 27, 2019) [Docket No. 13]




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     Related Documents:

     (a)       Interim Order Authorizing Debtors to Honor Certain Prepetition Obligations to
               Customers and to Continue Customer Programs (Entered December 30, 2019)
               [Docket No. 54]

     (b)       Notice of Entry of Interim Order and Final Hearing with Respect to the Motion of
               Debtors for Entry of Interim and Final Orders Authorizing Debtors to Honor
               Certain Prepetition Obligations to Customers and to Continue Customer Programs
               (Filed December 30, 2019) [Docket No. 63]

     (c)       Certification of Counsel Regarding Motion of Debtors for Entry of Interim and
               Final Orders Authorizing Debtors to Honor Certain Prepetition Obligations to
               Customers and to Continue Customer Programs (Filed January 23, 2020) [Docket
               No. 157]

     Objection Deadline: January 17, 2020 at 4:00 p.m. (ET), extended for Vatera until
                         January 21, 2020 at 4:00 p.m. (ET); extended for the U.S. Trustee
                         until January 22, 2020 at 4:00 p.m. (ET); and extended for the
                         Committee until January 22, 2020 at 6:00 p.m. (ET).

     Responses Received:

     (a)       Informal response of the U.S. Trustee

     (b)       Informal response of the Committee

     Status:          A certification of counsel was filed with the Court. This matter will not be
                      going forward unless otherwise directed by the Court.

5.   Motion of Debtors for Entry of Order Pursuant to Bankruptcy Code Sections 105(a), 501,
     502, 503, and 1111(a), Bankruptcy Rules 2002 and 3003(c)(3), and Local Bankruptcy
     Rules 1009-2 and 2002-1(e) (I) Establishing Bar Dates for Filing Claims Against the
     Debtors and (II) Approving Form and Manner of Notice Thereof (Filed January 3, 2020)
     [Docket No. 84]

     Related Documents:

               (a)    Certification of Counsel Regarding Motion of Debtors for Entry of Order
                      Pursuant to Bankruptcy Code Sections 105(a), 501, 502, 503, and 1111(a),
                      Bankruptcy Rules 2002 and 3003(c)(3), and Local Bankruptcy Rules
                      1009-2 and 2002-1(e) (I) Establishing Bar Dates for Filing Claims Against
                      the Debtors and (II) Approving Form and Manner of Notice Thereof
                      (Filed January 23, 2020) [Docket No. 158]




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     Objection Deadline: January 17, 2020 at 4:00 p.m. (ET), extended for the Committee,
                         Vatera, and the U.S. Trustee until January 21, 2020 at 4:00 p.m.
                         (ET).

     Responses Received:

     (a)       Informal response of the U.S. Trustee

     Status:          A certification of counsel was filed with the Court. This matter will not be
                      going forward unless otherwise directed by the Court.

6.   Motion of Debtors for Entry of Order Extending Time for Debtors to File Schedules and
     Statements (Filed January 3, 2020) [Docket No. 86]

     Related Documents:

     (a)       Certification of No Objection Regarding Motion of Debtors for Entry of Order
               Extending Time for Debtors to File Schedules and Statements (Filed January 23,
               2020) [Docket No. 160]

     (b)       Order Extending Time for Debtors to File Schedules and Statements (Filed
               January 27, 2020) [Docket No. 185]

     Objection Deadline: January 17, 2020 at 4:00 p.m. (ET), extended for the Committee,
                         Vatera, and the U.S. Trustee until January 21, 2020 at 4:00 p.m.
                         (ET).

     Responses Received: None.

     Status:          This matter will not be going forward. The Court entered an order
                      granting the Motion.

7.   Application of Debtors for Order Under 11 U.S.C. § 327, Fed. R. Bankr. P. 2014, and
     Del. Bank. L.R. 2014-1 Authorizing the Employment and Retention of Kurtzman Carson
     Consultants LLC as Administrative Agent to the Debtors, Nunc Pro Tunc to the Petition
     Date (Filed January 3, 2020) [Docket No. 89]

     Related Documents:

     (a)       Certification of Counsel Regarding Application of Debtors for Order Under
               11 U.S.C. § 327, Fed. R. Bankr. P. 2014, and Del. Bank. L.R. 2014-1 Authorizing
               the Employment and Retention of Kurtzman Carson Consultants LLC as
               Administrative Agent to the Debtors, Nunc Pro Tunc to the Petition Date (Filed
               January 23, 2020) [Docket No. 159]




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      (b)       Order Under 11 U.S.C. § 327, Fed. R. Bankr. P. 2014, and Del. Bank. L.R.
                2014-1 Authorizing the Employment and Retention of Kurtzman Carson
                Consultants LLC as Administrative Agent to the Debtors, Nunc Pro Tunc to
                the Petition Date (Filed January 27, 2020) [Docket No. 186]

      Objection Deadline: January 17, 2020 at 4:00 p.m. (ET), extended for the Committee,
                          Vatera, and the U.S. Trustee until January 21, 2020 at 4:00 p.m.
                          (ET).

      Responses Received:

      (a)       Informal response of the U.S. Trustee

      Status:          This matter will not be going forward. The Court entered an order
                       granting the Application.

Matters Going Forward

8.    Motion of Debtors for Entry of Order (I) Authorizing the Debtors to File a Consolidated
      Creditor Matrix in Lieu of Submitting a Separate Creditor Matrix for each Debtor,
      (II) Authorizing the Debtors to File Under Seal Certain Portions of the Debtors’
      Consolidated Creditor Matrix, Schedules and Statements, and Other Bankruptcy
      Documents Containing Employee Address Information, and (III) Granting Related Relief
      (Filed December 27, 2019) [Docket No. 6]

      Related Documents:

      (a)       Certification of Debtors’ Consolidated List of Creditors (Filed December 27,
                2019) [Docket No. 3 (Sealed); Docket No. 4 (Redacted)]

      (b)       Interim Order (I) Authorizing the Debtors to File a Consolidated Creditor Matrix
                in Lieu of Submitting a Separate Creditor Matrix for Each Debtor,
                (II) Authorizing the Debtors to File Under Seal Certain Portions of the Debtors’
                Consolidated Creditor Matrix, Schedules and Statements, and Other Bankruptcy
                Documents Containing Employee Address Information, and (III) Granting
                Related Relief (Entered January 2, 2020) [Docket No. 76]

      (c)       Notice of Entry of Interim Order and Final Hearing with Respect to Motion of the
                Debtors for Entry of Order (I) Authorizing the Debtors to File a Consolidated
                Creditor Matrix in Lieu of Submitting a Separate Creditor Matrix for Each
                Debtor, (II) Authorizing the Debtors to File Under Seal Certain Portions of the
                Debtors’ Consolidated Creditor Matrix, Schedules and Statements, and Other
                Bankruptcy Documents Containing Employee Address Information, and
                (III) Granting Related Relief (Filed January 2, 2020) [Docket No. 79]




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     (d)       Notice of Filing of Proposed Final Order (I) Authorizing the Debtors to File
               Under Seal Certain Portions of the Debtors’ Consolidated Creditor Matrix,
               Schedules and Statements, and Related Affidavits of Service Containing
               Employee Address Information, and (II) Granting Related Relief (Filed
               January 27, 2020) [Docket No. 180]

     Objection Deadline: January 17, 2020 at 4:00 p.m. (ET), extended for the Committee,
                         Vatera, and U.S. Trustee until January 21, 2020 at 4:00 p.m. (ET).

     Responses Received:

     (a)       Limited Objection of the United States Trustee to the Motion of Debtors for Entry
               of Order (I) Authorizing the Debtors to File a Consolidated Creditor Matrix in
               Lieu of Submitting a Separate Creditor Matrix for each Debtor, (II) Authorizing
               the Debtors to File Under Seal Certain Portions of the Debtors’ Consolidated
               Creditor Matrix, Schedules and Statements, and Other Bankruptcy Documents
               Containing Employee Address Information, and (III) Granting Related Relief
               (Filed January 17, 2020) [Docket No. 116]

     (b)       Reply of Debtors to Limited Objection of the United States Trustee to the Motion
               of Debtors for Entry of Order (I) Authorizing the Debtors to File a Consolidated
               Creditor Matrix in Lieu of Submitting a Separate Creditor Matrix for each Debtor,
               (II) Authorizing the Debtors to File Under Seal Certain Portions of the Debtors’
               Consolidated Creditor Matrix, Schedules and Statements, and Other Bankruptcy
               Documents Containing Employee Address Information, and (III) Granting
               Related Relief (Filed January 24, 2020) [Docket No. 176]

     Status:          This matter will be going forward.

9.   Motion of Debtors for Entry of Interim and Final Orders Authorizing Debtors to
     (I) Maintain Existing Insurance Policies and Pay All Insurance Obligations Arising
     Thereunder and (II) Renew, Revise, Extend, Supplement, Change, or Enter Into New
     Insurance Policies (Filed December 27, 2019) [Docket No. 8]

     Related Documents:

     (a)       Interim Order Authorizing Debtors to (I) Maintain Existing Insurance Policies and
               Pay All Insurance Obligations Arising Thereunder and (II) Renew, Revise,
               Extend, Supplement, Change, or Enter Into New Insurance Policies (Entered
               December 30, 2010) [Docket No. 50]

     (b)       Notice of Entry of Interim Order and Final Hearing with Respect to the Motion of
               Debtors for Entry of Interim and Final Orders Authorizing Debtors to (I) Maintain
               Existing Insurance Policies and Pay all Insurance Obligations Arising Thereunder
               and (II) Renew, Revise, Extend, Supplement, Change, or Enter Into New
               Insurance Policies (Filed December 30, 2010) [Docket No. 64]


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      (c)       Notice of Filing of Proposed Final Order Authorizing Debtors to (I) Maintain
                Existing Insurance Policies and Pay All Insurance Obligations Arising
                Thereunder and (II) Renew, Revise, Extend, Supplement, Change, or Enter
                Into New Insurance Policies (Filed January 27, 2020) [Docket No. 184]

      Objection Deadline: January 17, 2020 at 4:00 p.m. (ET), extended for the Committee,
                          Vatera, the U.S. Trustee, and the Chubb Companies until January
                          21, 2020 at 4:00 p.m. (ET).

      Responses Received:

      (a)       Objection of Vatera Healthcare Partners LLC to Debtors’ Motion for
                Authorization to (I) Maintain Existing Insurance Policies and Pay All Insurance
                Obligations Arising Thereunder and (II) Renew, Revise, Extend, Supplement,
                Change, or Enter Into New Insurance Policies (filed December 30, 2019) [Docket
                No. 32]

      (b)       Objection and Reservation of Rights of Vatera Healthcare Partners LLC to
                Debtors’ Motion for Authorization to (I) Maintain Existing Insurance Policies and
                Pay All Insurance Obligations Arising Thereunder and (II) Renew, Revise,
                Extend, Supplement, Change, or Enter Into New Insurance Policies (filed January
                21, 2020) [Docket No. 128]

      (c)       Deerfield’s Omnibus Reply and Statement in Support of the Debtors’ Bidding
                Procedures Motion, Cash Collateral Motion and Other First Day Motions (Filed
                January 24, 2020) [Docket No. 167]

      (d)       Informal response of the Chubb Companies

      (e)       Informal response of the Committee

      Status:          This matter will be going forward. The concerns raised by the Chubb
                       Companies and the Committee have been addressed through revisions to
                       the proposed form of final order; the objection filed by Vatera is the only
                       remaining objection to the motion.

10.   Motion of Debtors for Entry of Interim and Final Orders Authorizing Debtors to Pay
      Prepetition Wages, Compensation, and Employee Benefits (Filed December 27, 2019)
      [Docket No. 11]

      Related Documents:

      (a)       Interim Order Authorizing Debtors to Pay Prepetition Wages, Compensation, and
                Employee Benefits (Entered December 30, 2019) [Docket No. 52]



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      (b)       Notice of Entry of Interim Order and Final Hearing with Respect to Motion of
                Debtors for Entry of Interim and Final Orders Authorizing Debtors to Pay
                Prepetition Wages, Compensation, and Employee Benefits (Filed December 30,
                2019) [Docket No. 61]

      Objection Deadline: January 17, 2020 at 4:00 p.m. (ET), extended for Vatera, the U.S.
                          Trustee, and the Chubb Companies until January 21, 2020 at 4:00
                          p.m. (ET); and extended for the Committee until January 22, 2020
                          at 4:00 p.m. (ET).

      Responses Received:

      (a)       Objection and Reservation of Rights of United States Trustee to Motion of
                Debtors for Entry of Interim and Final Orders Authorizing Debtors to Pay
                Prepetition Wages, Compensation and Employee Benefits (Filed January 22,
                2020) [Docket No. 144]

      (b)       Objection of the Official Committee of Unsecured Creditors to the Motion of
                Debtors for Entry of Interim and Final Orders Authorizing Debtors to Pay
                Prepetition Wages, Compensation and Employee Benefits (Filed January 22,
                2020) [Docket No. 146]

      (c)       Omnibus Reply in Support of Motion of Debtors for Entry of Interim and Final
                Orders Authorizing Debtors to Pay Prepetition Wages, Compensation, and
                Employee Benefits (Filed January 24, 2020) [Docket No. 166]

      (d)       Informal response of the Chubb Companies

      Status:          This matter will be going forward.

11.   Motion of Debtors for Entry of Interim and Final Orders Establishing Notice and Hearing
      Procedures for Trading In, or Claims of Worthlessness with Respect to, Equity Securities
      in the Debtors (Filed December 27, 2019) [Docket No. 15]

      Related Documents:

      (a)       Interim Order Establishing Notice and Hearing Procedures for Trading in, or
                Claims of Worthlessness with Respect to, Equity Securities in the Debtors
                (Entered January 2, 2020) [Docket No. 72]

      (b)       Notice of Entry of Interim Order and Final Hearing with Respect to the Motion of
                Debtors for Entry of Interim and Final Orders Establishing Notice and Hearing
                Procedures for Trading in, or Claims of Worthlessness with Respect to, Equity
                Securities in the Debtors (Filed January 3, 2020) [Docket No. 81]




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      (c)       Notice of Interim Order Establishing Notice and Hearing Procedures for Trading
                in, or Claims of Worthlessness with Respect to, Equity Securities in the Debtors
                (Filed January 3, 2020) [Docket No. 82]

      (d)       Notice of Filing of Proposed Final Order Establishing Notice and Hearing
                Procedures for Trading In, or Claims of Worthlessness with Respect to,
                Equity Securities in the Debtors (Filed January 27, 2020) [Docket No. 189]

      Objection Deadline: January 17, 2020 at 4:00 p.m. (ET), extended for the Committee,
                          Vatera, and the U.S. Trustee until January 21, 2020 at 4:00 p.m.
                          (ET).

      Responses Received:

      (a)       Objection of Vatera Healthcare Partners LLC to Debtors’ Motion for Entry of a
                Final Order Establishing Notice and Hearing Procedures for Trading In, or Claims
                of Worthlessness with Respect to, Equity Securities in the Debtors (Filed
                January 21, 2020) [Docket No. 129]

      (b)       Reply of Debtors in Support of Motion of Debtors for Entry of Interim and Final
                Orders Establishing Notice and Hearing Procedures for Trading In, or Claims of
                Worthlessness with Respect to, Equity Securities in the Debtors (Filed January
                24, 2020) [Docket No. 162]

      (c)       Deerfield’s Omnibus Reply and Statement in Support of the Debtors’ Bidding
                Procedures Motion, Cash Collateral Motion and Other First Day Motions (Filed
                January 24, 2020) [Docket No. 167]

      (d)       Informal response of the Committee

      Status:          This matter will be going forward. The concerns raised by the Committee
                       have been addressed through revisions to the proposed form of final order;
                       the objection filed by Vatera is the only remaining objection to the motion.

12.   Motion of Debtors for Interim and Final Orders (I) Authorizing the Use of Cash
      Collateral; (II) Granting Adequate Protection; (III) Modifying Automatic Stay;
      (IV) Scheduling a Final Hearing; and (V) Granting Related Relief (Filed December 27,
      2019) [Docket No. 16]

      Related Documents:

      (a)       Interim Order (I) Authorizing the Use of Cash Collateral; (II) Granting Adequate
                Protection; (III) Modifying the Automatic Stay; (IV) Scheduling Final Hearing;
                and (V) Granting Related Relief (Entered January 2, 2020) [Docket No. 77]




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      (b)       Notice of Entry of Interim Order and Final Hearing with Respect to the Motion of
                Debtors for Entry of Interim and Final Orders (I) Authorizing the Use of Cash
                Collateral; (II) Granting Adequate Protection; (III) Modifying Automatic Stay;
                (IV) Scheduling a Final Hearing; and (V) Granting Related Relief (Filed January
                2, 2020) [Docket No. 78]

      (c)       Notice of Filing of Proposed Final Order (I) Authorizing the Use of Cash
                Collateral; (II) Granting Adequate Protection; (III) Modifying the Automatic
                Stay; and (IV) Granting Related Relief (Filed January 27, 2020) [Docket No.
                188]

      Objection Deadline: January 17, 2020 at 4:00 p.m. (ET), extended for the Committee
                          and Vatera until January 21, 2020 at 4:00 p.m. (ET); and extended
                          for the U.S. Trustee until January 22, 2020 at 4:00 p.m. (ET).

      Responses Received:

      (a)       Limited Objection of Vatera Healthcare Partners LLC to Debtors’ Motion for
                Entry of a Final Order (I) Authorizing the Use of Cash Collateral; (II) Granting
                Adequate Protection; (III) Modifying Automatic Stay; and (IV) Granting Related
                Relief (Filed January 21, 2020) [Docket No. 126]

      (b)       Objection of the Official Committee of Unsecured Creditors to Debtors’ Motion
                Seeking Interim and Final Orders (I) Authorizing the Use of Cash Collateral;
                (II) Granting Adequate Protection; (III) Modifying Automatic Stay;
                (IV) Scheduling a Final Hearing; and (V) Granting Related Relief (Filed January
                21, 2020) [Docket No. 137]

      (c)       Limited Objection and Reservation of Rights of United States Trustee to Motion
                of Debtors for Entry of Interim and Final Orders (I) Authorizing the Use of Cash
                Collateral; (II) Granting Adequate Protection; (III) Modifying Automatic Stay;
                (IV) Scheduling a Final Hearing; and (V) Granting Related Relief (Filed January
                22, 2020) [Docket No. 148]

      (d)       Deerfield’s Omnibus Reply and Statement in Support of the Debtors’ Bidding
                Procedures Motion, Cash Collateral Motion and Other First Day Motions (Filed
                January 24, 2020) [Docket No. 167]

      (e)       Omnibus Reply of Debtors in Support of the Debtors’ Cash Collateral Motion
                (Filed January 24, 2020) [Docket No. 168]

      Status:          This matter will be going forward.

13.   Motion of Debtors for Orders (I)(A) Establishing Bidding Procedures; (B) Approving
      Expense Reimbursement; (C) Establishing Procedures Relating to the Assumption or
      Assumption and Assignment of Certain Executory Contracts and Unexpired Leases,


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Including Notice of Proposed Cure Amounts; (D) Approving Form and Manner of Notice
of All Procedures, Protections, Schedules, and Agreements; (E) Scheduling a Hearing to
Consider any Proposed Sale; and (F) Granting Certain Related Relief; and
(II)(A) Approving any Sale of Substantially All of Debtors’ Assets and (B) Authorizing
the Assumption and Assignment of Certain Executory Contracts and Unexpired Leases in
Connection with the Sale; and (C) Granting Related Relief or, in the Alternative
(III)(A) Authorizing Debtors’ Assumption of Restructuring Support Agreement and
(B) Granting Related Relief (Filed December 30, 2019) [Docket No. 67]

Related Documents:

(a)       Declaration of Jeffrey Finger in Support of Debtors’ Bidding Procedures Motion
          (Filed January 24, 2020) [Docket No. 164]

(b)       Declaration of Peter Milligan in Support of Debtors’ Bidding Procedures Motion
          (Filed January 24, 2020) [Docket No. 165]

Objection Deadline: January 17, 2020 at 4:00 p.m. (ET), extended for the Committee
                    and Vatera until January 21, 2020 at 4:00 p.m. (ET); and extended
                    for the U.S. Trustee until January 22, 2020 at 4:00 p.m. (ET).

Responses Received:

(a)       Objection of Vatera Healthcare Partners LLC to Debtors’ Motion for Order
          Approving Bidding Procedures (Filed January 21, 2020) [Docket No. 127]

(b)       Objection of the Official Committee of Unsecured Creditors to the Motion of
          Debtors for Order (I)(A) Establishing Bidding Procedures; (B) Approving
          Expense Reimbursement; (C) Establishing Procedures Relating to the Assumption
          or Assumption and Assignment of Certain Executory Contracts and Unexpired
          Leases, Including Notice of Proposed Cure Amounts; (D) Approving Form and
          Manner of Notice of All Procedures, Protections, Schedules, and Agreements;
          (E) Scheduling a Hearing to Consider any Proposed Sale (Filed January 21, 2020)
          [Docket No. 136]

(c)       Objection of United States Trustee to Motion of Debtors for Orders Establishing
          Bidding Procedures (Filed January 22, 2020) [Docket No. 147]

(d)       Omnibus Reply of Debtors in Support of Debtors’ Bidding Procedures Motion
          (Filed January 24, 2020) [Docket No. 163]

(e)       Deerfield’s Omnibus Reply and Statement in Support of the Debtors’ Bidding
          Procedures Motion, Cash Collateral Motion and Other First Day Motions (Filed
          January 24, 2020) [Docket No. 167]

Status:          This matter will be going forward.


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14.   Motion of Debtors for Entry of Order Authorizing the Employment and Payment of
      Professionals Used in the Ordinary Course of Business (Filed January 3, 2020) [Docket
      No. 83]

      Related Documents:

      (a)       Notice of Filing of Proposed Form of Order Authorizing the Employment and
                Payment of Professionals Used in the Ordinary Course of Business (Filed January
                23, 2020) [Docket No. 161]

      Objection Deadline: January 17, 2020 at 4:00 p.m. (ET), extended for the Committee,
                          Vatera, and the U.S. Trustee until January 21, 2020 at 4:00 p.m.
                          (ET).

      Responses Received:

      (a)       Limited Objection of Vatera Healthcare Partners LLC to Debtors’ (I) Ordinary
                Course Professionals Motion, (II) Interim Compensation Procedures Motion,
                (III) Application to Retain Cole Schotz P.C., (IV) Application to Retain Portage
                Point Partners, LLC, (V) Application to Retain Jefferies LLC, and
                (VI) Application to Retain Skadden, Arps, Slate, Meagher & Flom LLP (Filed
                January 21, 2020) [Docket No. 131]

      (b)       Limited Objection of United States Trustee to Motion of Debtors for Entry of
                Order Authorizing the Employment and Payment of Professionals Used in the
                Ordinary Course of Business (Filed January 21, 2020) [Docket No. 138]

      (c)       Deerfield’s Omnibus Reply and Statement in Support of the Debtors’ Bidding
                Procedures Motion, Cash Collateral Motion and Other First Day Motions (Filed
                January 24, 2020) [Docket No. 167]

      (d)       Informal response of the Committee

      Status:          This matter will be going forward.

15.   Motion of Debtors for Entry of Order Establishing Procedures for Interim Compensation
      and Reimbursement of Expenses of Professionals (Filed January 3, 2020) [Docket No.
      85]

      Related Documents:

      (a)       Notice of Filing of Proposed Order Establishing Procedures for Interim
                Compensation and Reimbursement of Expenses of Professionals (Filed
                January 27, 2020) [Docket No. 181]



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      Objection Deadline: January 17, 2020 at 4:00 p.m. (ET), extended for the Committee,
                          Vatera, and the U.S. Trustee until January 21, 2020 at 4:00 p.m.
                          (ET).

      Responses Received:

      (a)       Limited Objection of Vatera Healthcare Partners LLC to Debtors’ (I) Ordinary
                Course Professionals Motion, (II) Interim Compensation Procedures Motion,
                (III) Application to Retain Cole Schotz P.C., (IV) Application to Retain Portage
                Point Partners, LLC, (V) Application to Retain Jefferies LLC, and
                (VI) Application to Retain Skadden, Arps, Slate, Meagher & Flom LLP (Filed
                January 21, 2020) [Docket No. 131]

      Status:          This matter will be going forward.

16.   Application of Debtors for Entry of Order Authorizing the Retention and Employment of
      Cole Schotz P.C. as Co-Counsel to Debtors, Nunc Pro Tunc to the Petition Date (Filed
      January 3, 2020) [Docket No. 87]

      Related Documents:

      (a)       Amended and Supplemental Declaration of Peter Milligan in Support of
                Application of Debtors for Entry of Order Authorizing the Retention and
                Employment of Cole Schotz P.C. as Co-Counsel to Debtors, Nunc Pro Tunc to the
                Petition Date (Filed January 23, 2020) [Docket No. 153] (the “Supplemental
                Milligan Retention Declaration”)

      (b)       Notice of Filing of Proposed Order Authorizing the Retention and
                Employment of Cole Schotz P.C. as Co-Counsel to Debtors, Nunc Pro Tunc
                to the Petition Date (Filed January 27, 2020) [Docket No. 187]

      Objection Deadline: January 17, 2020 at 4:00 p.m. (ET), extended for the Committee
                          and Vatera until January 21, 2020 at 4:00 p.m. (ET); and extended
                          for the U.S. Trustee until January 22, 2020 at 4:00 p.m. (ET).

      Responses Received:

      (a)       Limited Objection of Vatera Healthcare Partners LLC to Debtors’ (I) Ordinary
                Course Professionals Motion, (II) Interim Compensation Procedures Motion,
                (III) Application to Retain Cole Schotz P.C., (IV) Application to Retain Portage
                Point Partners, LLC, (V) Application to Retain Jefferies LLC, and (VI)
                Application to Retain Skadden, Arps, Slate, Meagher & Flom LLP (Filed January
                21, 2020) [Docket No. 131]

      (b)       Informal response of the U.S. Trustee



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      Status:          This matter will be going forward. The concerns raised by the United
                       States Trustee have been addressed through the filing of the
                       Supplemental Milligan Retention Declaration and revisions to the
                       proposed form of order; the objection filed by Vatera is the only
                       remaining objection to the application.

17.   Application of Debtors for Entry of Order (I) Authorizing the Employment and Retention
      of Portage Point Partners, LLC as Financial Advisor to the Debtors Effective Nunc Pro
      Tunc to the Petition Date, (II) Approving the Terms of Portage Point’s Employment and
      Retention, and (III) Granting Related Relief (Filed January 3, 2020) [Docket No. 88]

      Related Documents:

      (a)       Supplemental Declaration of Matthew Ray in Support of Application of Debtors
                for Entry of Order (I) Authorizing the Employment and Retention of Portage
                Point Partners, LLC as Financial Advisor to the Debtors Effective Nunc Pro Tunc
                to the Petition Date, (II) Approving the Terms of Portage Point’s Employment
                and Retention, and (III) Granting Related Relief (Filed January 23, 2020) [Docket
                No. 152] (the “Supplemental Ray Declaration”)

      (b)       Notice of Filing of Proposed Order (I) Authorizing the Employment and
                Retention of Portage Point Partners, LLC as Financial Advisor to the
                Debtors Effective Nunc Pro Tunc to the Petition Date, (II) Approving the
                Terms of Portage Point’s Employment and Retention, and (III) Granting
                Related Relief (Filed January 27, 2020) [Docket No. 182]

      Objection Deadline: January 17, 2020 at 4:00 p.m. (ET), extended for the Committee,
                          Vatera, and the U.S. Trustee until January 21, 2020 at 4:00 p.m.
                          (ET).

      Responses Received:

      (a)       Limited Objection of Vatera Healthcare Partners LLC to Debtors’ (I) Ordinary
                Course Professionals Motion, (II) Interim Compensation Procedures Motion,
                (III) Application to Retain Cole Schotz P.C., (IV) Application to Retain Portage
                Point Partners, LLC, (V) Application to Retain Jefferies LLC, and
                (VI) Application to Retain Skadden, Arps, Slate, Meagher & Flom LLP (Filed
                January 21, 2020) [Docket No. 131]

      (b)       Informal response of the U.S. Trustee

      Status:          This matter will be going forward. The concerns raised by the U.S.
                       Trustee have been addressed through the filing of the Supplemental
                       Ray Declaration and revisions to the proposed form of order; the
                       objection filed by Vatera is the only remaining objection to the
                       application.


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18.   Application of Debtors for Entry of an Order (I) Authorizing the Retention and
      Employment of Jefferies LLC as Investment Banker for the Debtors and Debtors in
      Possession Pursuant to 11 U.S.C. §§ 327(a) and 328(a), Nunc Pro Tunc to the Petition
      Date and (II) Waiving Certain Time-Keeping Requirements (Filed January 3, 2020)
      [Docket No. 90]

      Related Documents:

      (a)       Supplemental Declaration of Jeffrey Finger in Support of the Application of
                Debtors for Entry of an Order (I) Authorizing the Retention and Employment of
                Jefferies LLC as Investment Banker for the Debtors and Debtors in Possession
                Pursuant to 11 U.S.C. §§ 327(a) and 328(a), Nunc Pro Tunc to the Petition Date
                and (II) Waiving Certain Time-Keeping Requirements (Filed January 23, 2020)
                [Docket No. 149] (the “Supplemental Finger Declaration”)

      (b)       Notice of Filing of Proposed Order (I) Authorizing the Retention and
                Employment of Jefferies LLC as Investment Banker for the Debtors and
                Debtors in Possession Pursuant to 11 U.S.C. §§ 327(a) and 328(a), Nunc Pro
                Tunc to the Petition Date and (II) Waiving Certain Time-Keeping
                Requirements (Filed January 27, 2020) [Docket No. 183]

      Objection Deadline: January 17, 2020 at 4:00 p.m. (ET), extended for the Committee
                          and Vatera until January 21, 2020 at 4:00 p.m. (ET); and extended
                          for the U.S. Trustee until January 22, 2020 at 4:00 p.m. (ET).

      Responses Received:

      (a)       Limited Objection of Vatera Healthcare Partners LLC to Debtors’ (I) Ordinary
                Course Professionals Motion, (II) Interim Compensation Procedures Motion,
                (III) Application to Retain Cole Schotz P.C., (IV) Application to Retain Portage
                Point Partners, LLC, (V) Application to Retain Jefferies LLC, and
                (VI) Application to Retain Skadden, Arps, Slate, Meagher & Flom LLP (Filed
                January 21, 2020) [Docket No. 131]

      (b)       Informal response of the U.S. Trustee

      Status:          This matter will be going forward. The concerns raised by the U.S.
                       Trustee have been addressed through the filing of the Supplemental
                       Finger Declaration and revisions to the proposed form of order; the
                       objection filed by Vatera is the only remaining objection to the
                       application.

19.   Motion of Debtors for Entry of Order Authorizing the Debtors to Redact References to
      Confidential Information in the Motion of Debtors for Entry of an Order Approving the



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      Implementation of the Debtors’ Key Employee Incentive Plan (Filed January 3, 2020)
      [Docket No. 91]

      Related Documents: None.

      Objection Deadline: January 17, 2020 at 4:00 p.m. (ET), extended for Vatera and the
                          U.S. Trustee until January 21, 2020 at 4:00 p.m. (ET); and
                          extended for the Committee until January 22, 2020 at 4:00 p.m.
                          (ET).

      Responses Received:

      (a)       United States Trustee’s Limited Objection to Motion of Debtors for Entry of
                Order Authorizing the Debtors to Redact References to Confidential Information
                in the Motion of Debtors for Entry of an Order Approving the Implementation of
                the Debtors’ Key Employee Incentive Plan (Filed January 21, 2020) [Docket
                No. 135]

      (b)       Omnibus Reply of Debtors in Support of (A) Debtors’ Key Employee Incentive
                Plan Motion and (B) Debtors’ Motion to Redact the Debtors’ Key Employee
                Incentive Plan Motion (Filed January 24, 2020) [Docket No. 170]

      Status:          This matter will be going forward.

20.   Motion of Debtors for Entry of an Order Approving the Implementation of the Debtors’
      Key Employee Incentive Plan (Filed January 3, 2020) [Docket No. 92 (Sealed); Docket
      No. 93 (Redacted)]

      Related Documents:

      (a)       Motion of Debtors for Entry of Order Authorizing the Debtors to Redact
                References to Confidential Information in the Declaration of David Gill in
                Support of (A) Debtors’ Key Employee Incentive Plan And (B) Debtors’ Motion
                To Redact The Debtors’ Key Employee Incentive Plan Motion (Filed January 24,
                2020) [Docket No. 172]

      (b)       Declaration of David Gill in Support of (A) Debtors’ Key Employee Incentive
                Plan and (B) Debtors’ Motion to Redact the Debtors’ Key Employee Incentive
                Plan Motion (Filed January 24, 2020) [Docket No. 173 (Sealed); Docket No. 174
                (Redacted)]

      Objection Deadline: January 17, 2020 at 4:00 p.m. (ET), extended for the Committee
                          and Vatera until January 21, 2020 at 4:00 p.m. (ET); and extended
                          for the U.S. Trustee until January 22, 2020 at 4:00 p.m. (ET).




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      Responses Received:

      (a)       Objection of Vatera Healthcare Partners LLC to Debtors’ Motion for an Order
                Approving the Implementation of the Debtors’ Key Employee Incentive Plan
                (Filed January 21, 2020) [Docket No. 130]

      (b)       Objection of the Official Committee of Unsecured Creditors to the Debtors’
                Motion for Order Approving the Implementation of the Debtors’ Key Employee
                Incentive Plan (Filed January 21, 2020) [Docket No. 133 (Sealed)]

      (c)       Motion of the Official Committee of Unsecured Creditors to File Under Seal the
                Committee’s Objection to Motion of Debtors for Entry of an Order Approving the
                Implementation of the Debtors’ Key Employee Incentive Plan (Filed January 21,
                2020) [Docket No. 134]

      (d)       Objection of the United States Trustee to Motion of Debtors for Entry of an Order
                Approving the Implementation of the Debtors’ Key Employee Incentive Plan
                (Filed January 22, 2020) [Docket No. 145]

      (e)       Deerfield’s Omnibus Reply and Statement in Support of the Debtors’ Bidding
                Procedures Motion, Cash Collateral Motion and Other First Day Motions (Filed
                January 24, 2020) [Docket No. 167]

      (f)       Omnibus Reply of Debtors in Support of (A) Debtors’ Key Employee Incentive
                Plan Motion and (B) Debtors’ Motion to Redact the Debtors’ Key Employee
                Incentive Plan Motion (Filed January 24, 2020) [Docket No. 170]

      Status:          This matter is going forward.

21.   Application of Debtors for Order Authorizing Employment and Retention of Skadden,
      Arps, Slate, Meagher & Flom LLP as Counsel to the Debtors Nunc Pro Tunc to the
      Petition Date (Filed January 3, 2020) [Docket No. 94]

      Related Documents:

      (a)       Supplemental Declaration of Ron E. Meisler in Support of Application of Debtors
                for Order Authorizing Employment and Retention of Skadden, Arps, Slate,
                Meagher & Flom LLP as Counsel to the Debtors Nunc Pro Tunc to the Petition
                Date (Filed January 10, 2020) [Docket No. 102]

      (b)       Second Supplemental Declaration of Ron E. Meisler in Support of
                Application of Debtors for Order Authorizing Employment and Retention of
                Skadden, Arps, Slate, Meagher & Flom LLP as Counsel to the Debtors Nunc
                Pro Tunc to the Petition Date (Filed January 24, 2020) [Docket No. 178]




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      Objection Deadline: January 17, 2020 at 4:00 p.m. (ET), extended for the Committee
                          and Vatera until January 21, 2020 at 4:00 p.m. (ET); and extended
                          for the U.S. Trustee until January 22, 2020 at 4:00 p.m. (ET).

      Responses Received:

      (a)       Limited Objection of Vatera Healthcare Partners LLC to Debtors’ (I) Ordinary
                Course Professionals Motion, (II) Interim Compensation Procedures Motion,
                (III) Application to Retain Cole Schotz P.C., (IV) Application to Retain Portage
                Point Partners, LLC, (V) Application to Retain Jefferies LLC, and
                (VI) Application to Retain Skadden, Arps, Slate, Meagher & Flom LLP (Filed
                January 21, 2020) [Docket No. 131]

      (b)       Vatera Healthcare Partners LLC’s (I) Preliminary Objection to Debtors’
                Application for an Order Employing Skadden, Arps, Slate, Meagher & Flom LLP
                as Counsel to the Debtors Nunc Pro Tunc to the Petition Date and (II) Request for
                Adjournment of Hearing (Filed January 21, 2020) [Docket No. 132]

      (c)       Reply in Support of Application of Debtor for Order Authorizing Employment
                and Retention of Skadden, Arps, Slate, Meagher & Flom LLP as Counsel to the
                Debtors Nunc Pro Tunc to the Petition Date (Filed January 24, 2020) [Docket No.
                169]

      (d)       Informal response of the U.S. Trustee

      Status:          This matter will be going forward.

22.   Motion of the Official Committee of Unsecured Creditors to File Under Seal the
      Committee’s Objection to Motion of Debtors for Entry of an Order Approving the
      Implementation of the Debtors’ Key Employee Incentive Plan (Filed January 21, 2020)
      [Docket No. 134]

      Related Documents: None.

      Objection Deadline: January 28, 2020 at 1:30 p.m.

      Responses Received: None to date.

      Status:          This matter is going forward.

23.   Motion of Debtors for Entry of Order Authorizing the Debtors to Redact References to
      Confidential Information in the Declaration of David Gill in Support of (A) Debtors’ Key
      Employee Incentive Plan and (B) Debtors’ Motion to Redact the Debtors’ Key Employee
      Incentive Plan Motion (Filed January 24, 2020) [Docket No. 172]

      Related Documents: None.


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Objection Deadline: January 28, 2020 at 1:30 p.m.

Responses Received: None to date.

Status:       This matter is going forward.


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Dated: Wilmington, Delaware
       January 27, 2020

                                MCDERMOTT WILL & EMERY LLP

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                                and Debtors-in-Possession




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